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EXHIBIT V
DECL. OF GARY GRAVES
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County Counsel
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COUNTY OF SANTA CLARA

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
RALPH COLEMAN, et al., No. CIV S-90-0520 LKK JFM P
Plaintiffs, THREE-JUDGE COURT
Vv. TRIAL DECLARATION OF GARY A.
GRAVES
ARNOLD SCHWARZENEGGER, et al.,
Trial Date: | November 18, 2008
Defendants. Time: 1:30 p.m.
Location: U.S.D.C. Ceremonial Courtroom

MARCIANO PLATA, et al., No. C01-1351 TEH

Plaintiffs, THREE-JUDGE COURT

Vv.

ARNOLD SCHWARZENEGGER, et al.,

Defendants.

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I, Gary A. Graves, declare as follows:
1. [have been employed by the County of Santa Clara (the “County”) for 24 years. I

am currently employed as the Assistant County Executive and have been so employed since

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County of Santa Clara

San Jose, California

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August 2003. Prior to becoming the Assistant County Executive, I was the County Budget
Director from 1984 through 1997 and the Deputy County Executive from 1997 to 2003. I have
been appointed to serve as the Acting County Executive, effective November 3, 2008.

2. As the Assistant County Executive, I am responsible for the day-to-day management
of the County and the County’s fiscal operations and resource allocation. I also have
responsibility for preparation of the County’s budget each fiscal year. My duties include
considering and forming opinions regarding the impact to the County of additional persons,
including state prisoners or parolees, needing services from the County. On August 15, 2008, I
prepared and submitted the Expert.Report of Gary A. Graves (“Graves Report”) in this case,
which has been filed simultaneously with this Declaration.

3. The County of Santa Clara FY2009 Recommended Budget (“Recommended
Budget”) was released by the Office of the County Executive in May 2008. On September 23,
2008, Governor Schwarzenegger signed the State Budget for Fiscal Year 2008-2009. The
Governor made approximately $153 million in budget cuts to health and human services. The
estimated impact of the state’s budget actions on the County is approximately $13 million,
including $ 7.8 million in the health services area. In addition, the Board of Supervisors
approved $4.1 million in target amounts for the County departments to address after finalization
of the State Budget. .Taken together, the total impact to the County’s budget is approximately
$17.1 million. As a result, the County Executive is proposing millions of dollars in additional
budget cuts from the Recommended Budget to certain departments, including the Mental Health
Department, the Drug and Alcohol Department, and the Santa Clara Valley Medical Center.

4. During the past 5 years (FY 2003 through FY 2008), the County has solved budget
deficits that have exceeded $1 billion, and faced a general fund deficit of $172 million for fiscal
year 2009. The County has forecasted significant deficits at least through 2012. The County is
in a dire financial situation and does not have resources to provide services to an influx of
prisoners released from the state prison. (See, e.g., Recommended Budget (Exhibit A to County
Exhibit List) at p. 1 (“Every level and sector of government faces service demands and needs

that exceed available resources,” and showing budget deficits from 2003 and projected into

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2012).) For all of the reasons stated in the Graves Report, my opinion is that if prisoners are
released into Santa Clara County pursuant to a prisoner release order issued by this Court the
County will not have the resources to incarcerate them and/or provide alcohol and drug
treatment, mental health treatment, housing, health care, and other services. Consequently, if
the individuals released from state prison are unable to access these services, there will be a
significant negative impact to public safety because there will be an influx of released prisoners
in the County without housing, substance abuse, mental health and health care services, and the
County jail may become overcrowded.

5. I wish to correct a misstatement in the Graves Expert Report. On page 5, I indicate
that ten percent of mentally ill inmates released or paroled to the County would need “inpatient”
services, and the cost of those services is $19,380. The correct term is “intensive,” services (or
“Full Service Partnership”), and the cost per client of those intensive services is $19,380. (See
County Exhibit G, p. 1.)

The foregoing is based on my personal knowledge and my expert opinion. If called to
testify as a witness I could and would testify competently thereto. I declare under the penalty of

perjury under the laws of the State of California that the foregoing is true and correct. Executed

this AY day of October, 2008, at San Jose, California.

CP . Graves

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